USCA4 Appeal: 07-4115            Doc: 222              Filed: 08/24/2010       Pg: 1 of 1



                      UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                     APPEARANCE OF COUNSEL FORM
  BAR ADMISSION & ECF REGISTRATION: If you have not been admitted to practice before the Fourth Circuit,
  you must complete and return an Application for Admission before filing this form. If you were admitted to practice
  under a different name than you are now using, you must include your former name when completing this form so that we
  can locate you on the attorney roll. Electronic filing by counsel is required in all Fourth Circuit cases. If you have not
  registered as a Fourth Circuit ECF Filer, please complete the required steps at www.ca4.uscourts.gov/cmecftop.htm.


  THE CLERK WILL ENTER MY APPEARANCE IN APPEAL NO. ______________________________
                                                   07-4059                        as

  [ ]Retained [ ]Court-appointed(CJA) [ ]Court-assigned(non-CJA) [ ]Federal Defender [ ]Pro Bono [✔]Government

  COUNSEL FOR: _________________________________________________________________
               United States of America                                          as the
                                            (party name)

      appellant(s) ✔ appellee(s)       petitioner(s)    respondent(s)     amicus curiae      intervenor(s)

  ______________________________________
  /s/ Daniel Steven Goodman
                (signature)

  __________________________________
  Daniel Steven Goodman                                     _______________
                                                            (202) 514-2338
  Name (printed or typed)                                   Voice Phone

  __________________________________
  U.S. Dep't of Justice, 1264 Main Bldg.                    _______________
                                                            (202) 305-2121
  Firm Name (if applicable)                                 Fax Number

  __________________________________
  Criminal Div., 950 Penn. Ave, N.W.

  Washington, D.C. 20530
  __________________________________                        _________________________________
                                                            dan.goodman@usdoj.gov
  Address                                                   E-mail address (print or type)


  OR, I, ______________________________________, AM NOT PARTICIPATING IN THIS CASE.
                       (Name)

  APPELLATE COUNSEL IS: __________________________________________________________.
                                (Name)                        (Phone)


                                            CERTIFICATE OF SERVICE
  I certify that on _________________
                    August 24, 2010   the foregoing document was served on all parties or their counsel of record
  through the CM/ECF system if they are registered users or, if they are not, by serving a true and correct copy at the
  addresses listed below:
   Michael D. Montemarano, P.A.                             Alan Dexter Bowman, Esq.
   5695 Main Street, Suite 201                              Suite 105
   Elkridge, Maryland 21075-5016                            Gateway One
                                                            Newark, New Jersey 07102


  /s/ Daniel Steven Goodman
  ______________________________                                                     ____________________________
                                                                                           August 24, 2010
             Signature                                                                            Date
                                                       Reset Form
